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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            20 CR. 468 (RMB)
        -against-
                                                                            ORDER
ROBERT HADDEN,
                           Defendant.
-------------------------------------------------------------X

        The Court will hold a status conference on Thursday, November 12, 2020 at 9:30 AM.

        Participants, members of the public and the press may use the following dial-in
information:


        USA Toll-Free Number: 1-877-336-1829
        Access Code: 6265989
        Security Code: 0468

        Note: The Government is requested to provide all victims (and their counsel if known)
with notice of the pretrial conference and of their rights to attend and/or participate under the
Crime Victims Rights Act, 18 USC § 3771.



Dated: November 5, 2020
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
